             Case 2:10-cr-00474-WBS Document 161 Filed 06/20/13 Page 1 of 3



 1   THOMAS A. JOHNSON, #119203
     400 Capital Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Jerad Maggi
 4
 5                       IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,                  )   Case No.: 2:10-cr-00474-03 WBS
 9                                              )
                  Plaintiff,                    )   STIPULATION AND ORDER FOR
10                                                  CONTINUANCE OF JUDGMENT AND
                                                )   SENTENCING AND MODIFICATION
11         vs.                                  )   OF SCHEDULE FOR PSR
                                                )
12                                              )
13   JERAD MAGGI,                               )   Date:     8/26/13
              Defendant.                        )   Time:     9:30 a.m.
14                                              )   Judge:    Hon. William B. Shubb
15                                              )
16
17         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
18   Judgment and Sentencing scheduled for July 22, 2013, at 9:30 a.m. is continued to
19   August 26, 2013, at 9:30 a.m. in the same courtroom. The continuance is requested
20   because defense counsel needs additional time to prepare for the Pre-Sentence Report
21   (PSR). Jared Dolan, Assistant United States Attorney, and Thomas A. Johnson,
22   Defendant’s attorney, agree to this continuance.
23
24   IT IS SO STIPULATED.
25
     DATED: June 19, 2013                               By:   /s/ Thomas A. Johnson
26                                                            THOMAS A. JOHNSON
                                                              Attorney for Defendant
27                                                            JERAD MAGGI
28

                                                                                            1
            Case 2:10-cr-00474-WBS Document 161 Filed 06/20/13 Page 2 of 3



 1
     DATED: June 19, 2013                           BENJAMIN B. WAGNER
 2                                                  United States Attorney
 3                                            By:    /s/ Thomas A. Johnson for
                                                    JARED DOLAN
 4                                                  Assistant United States Attorney
 5
     IT IS SO ORDERED.
 6
 7   Dated: June 20, 2013
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                                                       2
             Case 2:10-cr-00474-WBS Document 161 Filed 06/20/13 Page 3 of 3



 1                               IN THE UNITED STATES DISTRICT COURT
 2                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
                                                    )   Case No.: 2:10-cr-00474-WBS
 4   UNITED STATES OF AMERICA,                      )
                                                    )   MODIFICATION OF SCHEDULE FOR
 5                  Plaintiff,                      )   PRE-SENTENCE REPORT AND FOR
                                                    )   FILING OF OBJECTIONS TO THE PRE-
 6        v.                                        )   SENTENCE REPORT
     JERAD MAGGI,                                   )
 7                                                  )
                    Defendant.                      )
 8                                                  )
 9
10   Judgment and Sentencing date:                              August 26, 2013

11   Reply or Statement                                         August 19, 2013
12
     Motion for Correction of the Pre-Sentence
13   Report shall be filed with the court and                   August 12, 2013
     served on the Probation Officer and opposing
14   counsel no later than:
15
     The Pre-Sentence Report shall be filed with
16   the court and disclosed to counsel no later                August 5, 2013        __
     than:
17
18   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                  July 29, 2013
19   Probation Officer and opposing counsel
     no later than:
20
21
22
23
24
25
26
27
28

                                                                                           3
